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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

SELINA MARIE RAMIREZ,                     §
individually and as Independent           §
Administrator of, and on behalf of, the   §
ESTATE OF GABRIEL EDUARDO                 §
OLIVAS and the heirs-at-law of            §
GABRIEL EDUARDO OLIVAS, and as            §
parent, guardian and next friend of and   §
for female minor S.M.O.; and              §   CIVIL ACTION NO. 3:19-cv-01529-L
GABRIEL ANTHONY OLIVAS,                   §
individually,                             §
        Plaintiffs,                       §
                                          §
v.                                        §
                                          §
CITY OF ARLINGTON, TEXAS;                 §
JEREMIAS GUADARRAMA; and                  §
EBONY N. JEFFERSON,                       §
      Defendants.                         §



        DEFENDANT CITY OF ARLINGTON’S MOTION TO DISMISS
                  UNDER RULE 12(b)(6) AND BRIEF
                     FILED IN RESPONSE TO
         FIRST AMENDED PLAINTIFFS’ ORIGINAL COMPLAINT



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                              CITY OF ARLINGTON, TEXAS
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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SELINA MARIE RAMIREZ, et al.,                 §
     Plaintiffs,                              §
                                              §
v.                                            §   CIVIL ACTION NO. 3:19-cv-01529-L
                                              §
CITY OF ARLINGTON, TEXAS, et al.,             §
      Defendants.                             §


            DEFENDANT CITY OF ARLINGTON’S MOTION TO DISMISS
                      UNDER RULE 12(b)(6) AND BRIEF
                         FILED IN RESPONSE TO
             FIRST AMENDED PLAINTIFFS’ ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE LINDSAY,
UNITED STATES DISTRICT JUDGE:

          Defendant City of Arlington, Texas (“Arlington”) respectfully files its Motion to

Dismiss Under Rule 12(b)(6).        Plaintiffs’ version of the factual scenario facing the

officers fails to state a Fourth Amendment violation. In the absence of a constitutional

violation, there can be no municipal liability. See Elizondo v. Green, 671 F.3d 506, 510-

11 (5th Cir. 2012). Further, Plaintiffs’ factual allegations do not show that Arlington’s

policies were unconstitutional or that they caused harm to Mr. Olivas. Last, Arlington’s

training program was not deliberately indifferent to the rights of Mr. Olivas.

                 I. Identification of Live Pleadings and Procedural Background

          1.01    Plaintiffs’ live pleading is their First Amended Plaintiffs’ Original

Complaint filed on August 7, 2019. 1 Plaintiffs allege that Mr. Olivas’s civil rights were




1
    See First Amended Plaintiffs’ Orig. Complaint, Doc. 19, 08/07/19 (PageID 205-58).
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violated and seek redress under 42 U.S.C. § 1983. 2 Plaintiffs allege that Mr. Olivas

threatened to “kill himself, by lighting himself on fire after dousing himself with

gasoline.” 3 Plaintiffs further allege Mr. Olivas was “drenched with gasoline” in the

presence of the police officers. 4     Plaintiffs allege that Sgt. Jefferson and Officer

Guadarrama acted in an unreasonable manner for “Tasing” Mr. Olivas, which Plaintiffs

allege caused Mr. Olivas’s death. 5

        1.02    With regards to Arlington, Plaintiffs assert liability under Monell by

alleging that Arlington’s “policy regarding escalation in force was a moving force behind

and proximately caused Mr. Olivas’ death”. 6        Plaintiffs allege that Arlington acted

unconstitutionally by not adopting an absolute policy that – in all circumstances –

prohibited police officers “from using a Taser on a person who had been doused with

gasoline.” 7   Plaintiffs also complain that Arlington continued to employee Officer

Guadarrama after reprimanding him for various infractions, none of which involved the

use of force. 8 Last, Plaintiffs argue that Arlington’s failure to discipline Sgt. Jefferson

and Officer Guadarrama for the events involving Mr. Olivas is “evidence” of a “pre-

existing unconstitutional policy, practice, and/or custom.” 9

        1.03    Although Plaintiffs make repeated and detailed references to Sgt.

Jefferson’s and Officer Guadarrama’s training on Tasers, 10 Plaintiffs may also allege that



2
  See id. at p.5, ¶ 6 (PageID 209).
3
  See id. at p.7, ¶ 12 (PageID 211).
4
  See id.
5
  See id. at p.38, ¶ 93 (PageID 242).
6
  See id. at pp.40-42 (PageID 244-46).
7
  See id. at p.42, ¶ 102 (PageID 246).
8
  See id. at pp.42-43, ¶ 103 (PageID 246-47).
9
  See id. at p.44, ¶ 104 (PageID 248).
10
   See id. at pp.33-38 (PageID 237-42).
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Arlington’s training was not proper because some Taser related training was for “internal

credit” and allegedly “not up to standards required for training to be reported to

TCOLE.” 11 This claim, if it is a claim, is addressed in an abundance of caution.

       1.04    Arlington and the individual defendants previously filed motions to

dismiss in response to the original complaint. 12 Although Plaintiffs did not identify the

changes in their first amended complaint, Plaintiffs’ changes were primarily minor

tweaks to their factual allegations. 13 Plaintiffs did not address the substantive arguments

made in the defendants’ original motions to dismiss; Plaintiffs only response was that

Defendants’ previous motions were moot because of their amended complaint. 14

                                II. Grounds for Dismissal

       2.01    First and foremost, Plaintiffs’ version of the factual scenario facing the

officers fails to state a Fourth Amendment violation for excessive force. In short, Plaintiffs’

fail to allege an unconstitutional use of force by Sgt. Jefferson or Officer Guadarrama given

the scenario faced by the Arlington police officers. “[I]n the absence of a constitutional

violation, there can be no municipal liability for the City.” Elizondo v. Green, 671 F.3d 506,

510-11 (5th Cir. 2012). Thus, all claims against Arlington should be dismissed.




11
   See id. at p.39, ¶ 95 (PageID 243).
12
   See Defendant City of Arlington’s Motion to Dismiss, Doc. 9, filed 07/17/19;
Defendant Ebony N. Jefferson’s Motion to Dismiss, Doc. 13, filed 07/26/19; Defendant
Guadarrama’s Motion to Dismiss, Doc. 16, filed 07/26/19.
13
   Compare Plaintiffs’ Original Complaint, Doc. 1, filed 06/25/19 (PageID 1-52) with
First Amended Plaintiffs’ Original Complaint, Doc. 19, filed 08/07/19 (PageID 205-58).
14
   See Plaintiffs’ Response to Defendants’ Motions to Dismiss, Doc. 20, filed 08/07/19
(PageID 259-62).
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        2.02    Plaintiff only brings federal claims against Arlington.15 With regard to the

claims brought against Arlington, Plaintiffs must show the alleged wrongful conduct of an

employee is pursuant to policy or custom of Arlington. See Monell v. Dep’t of Soc. Servs.,

436 U.S. 658, 691 (1978). Plaintiffs’ policy claims are based on (1) Arlington’s escalation

of force policy, (2) Arlington’s Taser use policy, (3) the continued employment of Officer

Guadarrama, and (4) Arlington’s decision not to discipline Sgt. Jefferson and Officer

Guadarrama regarding the incident at issue in this lawsuit. Plaintiffs Monell claims should

be dismissed because the alleged facts, considered in the light most favorable to the

Plaintiffs, fail to show any constitutional violation.

        2.03    If Plaintiffs assert a failure to train claim, the claim fails because Plaintiffs

own allegations show that Arlington’s training was not deliberately indifferent to Mr.

Olivas’s constitutional rights.

                                   III. Factual Background

        3.01    Plaintiffs’ factual allegations are stated in their Complaint and discussed

herein in the relevant analytical sections.16

                  IV. Applicable Procedural Standard for Rule 12(b)(6)

        4.01    Rule 12(b)(6) recognizes that the failure to state a claim upon which relief

can be granted is a defense to the challenged claim. FED. R. CIV. P. 12(b)(6). “To survive a

motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The plausibility



15
   See First Amended Plaintiffs’ Original Complaint, Doc. 19, pp.47-50, filed 08/07/19
(PageID 251-54).
16
   See id. at pp.6-44 (PageID 210-48).
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standard requires more than simply alleging facts that indicate relief is possible. Id. “[O]nly

a complaint that states a plausible claim for relief survives a motion to dismiss.” Id. at 679

(citing Twombly, 550 U.S. at 556).

                              V. Arguments and Authorities

       5.01    Arlington’s motion presents two independent grounds. First, Arlington

cannot be liable on the facts alleged because the Plaintiffs’ own version of facts show that

the Arlington police officers did not violate the Fourth Amendment. See Elizondo v.

Green, 671 F.3d 506, 510-11 (5th Cir. 2012). Second, the Plaintiffs’ version of facts

demonstrates that Arlington’s policies did not violate the Constitution and were not the

cause of Mr. Olivas’s death. Further, Arlington’s training policies were not deliberately

indifferent to Mr. Olivas’s constitutional rights. Plaintiffs have failed to identify a policy

or practice by Arlington that caused their alleged harm. See Monell, 436 U.S. at 690-91.

       A.      Plaintiffs’ own version of facts demonstrate that no Fourth
               Amendment violation occurred given the scenario the officers faced.

       5.02    Before considering municipal policy under Monell, Plaintiffs must meet

the threshold requirement of alleging facts showing a constitutional violation. “To hold a

municipality liable under § 1983 for the misconduct of an employee, a plaintiff must

show, in addition to a constitutional violation, that an official policy promulgated by the

municipality’s policymaker was the moving force behind, or actual cause of, the

constitutional injury.” James v. Harris County, 577 F.3d 612, 617 (5th Cir. 2009)

(underlining added). “To establish municipal liability under § 1983, a plaintiff must

show the deprivation of a federally protected right caused by action taken ‘pursuant to an

official municipal policy.’” Valle v. City of Houston, 613 F.3d 536, 542 (5th Cir. 2010)

(underlining added). “[I]n the absence of a constitutional violation, there can be no

Arlington’s Motion to Dismiss and Brief                                                      5
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 municipal liability for the City.”       Elizondo, 671 F.3d at 510-11.          Plaintiffs’ fact

 allegations fail to show a violation of Mr. Olivas’s rights.          Accordingly, Plaintiffs’

 allegations do not meet the threshold requirement. Thus, Plaintiffs have failed to state a

 claim against Arlington upon which relief can be granted. See FED. R. CIV. P. 12(b)(6).

          1.     Plaintiffs’ factual allegations.

          5.03    In order to survive a motion to dismiss, “a complaint must contain

 sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

 face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). The Plaintiffs’ factual

 allegations include:

      •   “On July 10, 2017, Mr. Olivas was at home, telling family members that he would
          kill himself, by lighting himself on fire after dousing himself with gasoline.” 17

      •   “There is no doubt that all police officers at the scene of the incident leading to
          Mr. Olivas’ death, at which he was Tased, were aware that Mr. Olivas was
          threatening to commit suicide.” 18

      •   “Officer Pierce also noted that Mr. Olivas poured gasoline at certain spots inside
          the home as well as all over himself, saying he was going to kill himself.” 19

      •   “The call text stated that the caller’s father was threatening suicide. The caller
          was Gabriel Anthony Olivas, and his father was Mr. Olivas. The call text
          allegedly further indicated that Mr. Olivas was threatening to burn down the
          house and was pouring gasoline in the house.” 20

      •   Plaintiffs admit that Mr. Olivas “was holding” a lighter, but allege that he did not
          light the lighter. 21

      •   “While driving to Mr. Olivas’ home, police officers informed police dispatch to
          have Mr Olivas’ son and whoever else was in the house with Mr. Olivas to exit
          the house.” 22


 17
    See Plaintiffs’ First Amended Original Complaint, p.7, ¶ 12 (PageID 211).
 18
    See id. at ¶ 13.
 19
    See id.
 20
    See id. at p.8, ¶ 15 (PageID 212).
 21
    See id.
 22
    See id. at p.9, ¶ 16 (PageID 213).
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      •   “Before Officer Scott’s arrival, he asked dispatch where Mr. Olivas was located.
          Officer Scott was told that he was inside one of the bedrooms.” 23

      •   Corporal Ray “wrote that, on Monday, July 10, 2017, at 11:57 a.m., he was
          dispatched to Mr. Olivas’ home regarding an alleged suicidal subject, high on
          methamphetamines, and who was pouring gasoline inside the home. Corporal
          Ray indicated that, when he arrived, he was met by ‘frantic family members
          yelling for officers to hurry and help their father.’” 24

      •   Officer Guadarrama “wrote that, on Monday, July 10, 2017, at approximately
          12:00 p.m., he was dispatched to Mr. Olivas’ residence in reference to a suicidal
          individual who had been believed to have doused his residence with gas.” 25

      •   “Officer Guadarrama wrote that Sergeant Jefferson and Officer Elliot were the
          next officers to arrive at Mr. Olivas’ home on July 10, 2017. He wrote, ‘Sergeant
          Jefferson reminded us to use non-lethal on the suicidal person.’” 26

      •   “They entered the residence, and Officer Guadarrama ‘very quickly detected the
          strong odor of gasoline inside the residence.’” 27

      •   “As the officers entered into that bedroom, Officer Guadarrama ‘knew that the
          suicidal male [Mr. Olivas] was inside the bedroom.’ Further, ‘I [Officer
          Guadarrama] was concerned that the suicidal male would ignite the bedroom on
          fire igniting himself and innocent victims, because I could smell the very strong
          odor of gasoline inside the bedroom.’” 28

      •   Sgt. Jefferson “heard dispatch send officers to Mr. Olivas’ home in reference to a
          suicidal person. He also heard that the person had poured gasoline on himself and
          in a room.” 29

      •   Sgt. Jefferson responded to the call and, upon arrival, ran to the door of Mr.
          Olivas’s home, where he joined Officers Guadarrama and Elliot. 30

      •   Before entering the house, Sgt. Jefferson saw that Officer Guadarrama had his
          firearm drawn and Sgt. Jefferson told Officer Elliot to draw “less lethal”, which



 23
    See id.
 24
    See id. p.10, ¶19 (PageID 214).
 25
    See id. at ¶ 20.
 26
    See id. at p.11, ¶ 21 (PageID 215).
 27
    See id.
 28
    See id. at p.11, ¶ 22 (PageID 215).
 29
    See id. at p.14, ¶ 30 (PageID 218).
 30
    See id. at ¶¶ 30-32.
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          was an instruction to draw his Taser. 31 Sgt. Jefferson also pulled his Taser “as a
          second less lethal option.” 32

      •   Sgt. Jefferson wanted to be able to immediately address whatever threat was
          encountered. 33 Officer Guadarrama entered the residence, followed by Officer
          Elliot, and then Sgt. Jefferson. 34

      •   Sgt. Jefferson smelled gas when they entered the room with Mr. Olivas. 35

      •   “Officer Guadarrama told Officer Elliott that, some time back, he and other
          officers had responded to the home and discovered a man who possibly could be
          the same subject in the current call and who Officer Guadarrrma said was wanting
          suicide by cop.” 36

 The alleged facts have some strong similarities to two recent Fifth Circuit opinions, both

 of which held that the police officers did not use excessive force. See Elizondo v. Green,

 671 F.3d 506 (5th Cir. 2012); Rockwell v. Brown, 664 F.3d 985 (5th Cir. 2011).

          2.     Discussion of Rockwell v. Brown.

          5.04   Rockwell v. Brown also involved a family call to police regarding the

 actions of a suicidal family member (the son) who was holed-up in his bedroom in the

 family house. 664 F.3d 985, 988-89 (5th Cir. 2011). The 27-year-old son suffered from

 bipolar disorder and schizophrenia. Id. at 988. His mental condition and stability began

 to deteriorate after he stopped taking his medications and refused to see a doctor. Id.

          5.05   One evening, the son was hitting the walls of his room, cursing through

 the door, and raised his fist as if to hit his mother. Id. Believing their son was a danger

 to himself and to others, the parents called 911. Id.         The dispatcher advised the

 responding officers that the son was bi-polar, schizophrenic, and off of his medication.



 31
    See id. at pp.14-15, ¶¶ 32-33 (PageID 218-19).
 32
    See id. at p.15, 33 (PageID 219).
 33
    See id. at ¶ 34.
 34
    See id.
 35
    See id.
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 Id. The son’s mother confirmed to the officers that the son was schizophrenic and off his

 medications and also indicated her belief that the son was using illegal drugs. Id. at 989.

           5.06    Officers Ohlde, Burleson, and Raley attempted to communicate with the

 son through his bedroom door, but were unsuccessful in their attempts to persuade the

 son to come out of the bedroom. Id. Officer Raley advised the others that a SWAT team

 had responded to a prior situation involving the son. Id. The officers called for a

 lieutenant and for a backup unit. Id. The son continued to bang on the walls, shake his

 door, and threaten the officers. Id. After Lt. Brown arrived, the officers decided to arrest

 the son because they feared he would harm his parents or himself if left in the house. Id.

           5.07    The officers breached the bedroom door to make the arrest. Id. The son,

 holding two eight-inch serrated knives, rushed towards and attacked Lt. Brown. Id.

 Officer Burleson yelled “knives”. Id. Lt. Brown fired multiple rounds at the son with the

 pepperball gun. Id. The son pushed Lt. Brown into the bathroom hard enough that the

 commode broke. Id. The son then ran after Officer Scicluna while swinging his knives.

 Id. at 989-90. Officer Scicluna was injured; at about this time, Officers Burleson, Raley,

 and Scicluna shot the son. Id. at 990. Stippling on the son’s neck indicated that the son

 was less than two feet from Officer Raley when he fired. Id. Officer Garcia fired once or

 twice, but did not hit the son. Id. Officers Ohlde and Lt. Brown did not fire their

 firearms. Id. After EMS arrived, the son was pronounced dead. Id.




 36
      See id. at p.17, ¶ 38 (PageID 221).
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        5.08    The parents sued the officers for excessive force in alleged violation of the

 Fourth Amendment. 37 Id. at 990-91. The district court granted summary judgment to the

 officers on the excessive-force claims on the basis of qualified immunity. Id. at 990.

        5.09    In affirming, the Fifth Circuit began its analysis by noting that the required

 elements of an excessive force claim are: “(1) an injury (2) which resulted from the use of

 force that was clearly excessive to the need and (3) the excessiveness of which was

 objectively unreasonable.” Id. at 991 (citing Hill v. Carroll Cnty., Miss., 587 F.3d 230,

 233 (5th Cir. 2009)). The Fifth Circuit also reviewed the reasonableness standard, saying:

        As in other Fourth Amendment contexts, the “reasonableness” inquiry is
        objective: “the question is whether the officers’ actions are ‘objectively
        reasonable’ in light of the facts and circumstances confronting them,
        without regard to their underlying intent or motivation.”

 Id. (citing Graham v. Connor, 490 U.S. 386, 397 (1989) (underlining added)). “The

 ‘reasonableness’ of a particular use of force must be judged from the perspective of a

 reasonable officer on the scene, rather than with the 20/20 vision of hindsight.” Id.

 (underlining added). “The calculus of reasonableness must embody allowance for the

 fact that police officers are often forced to make split-second judgments—in

 circumstances that are tense, uncertain, and rapidly evolving—about the amount of force

 that is necessary in a particular situation.” Id. (citing Graham, 490 U.S. at 396-97). The

 Fifth Circuit completed its review of the standards, saying:

        "An officer's use of deadly force is not excessive, and thus no
        constitutional violation occurs, when the officer reasonably believes that
        the suspect poses a threat of serious harm to the officer or to others."
        Manis [v. Lawson, 585 F.3d 839, 843 (5th Cir. 2009)] (citing Ontiveros v.


 37
  The parents also sued the officers for an alleged unlawful entry into the son’s bedroom
 and state-law assault and battery claims. Rockwell, 664 F.3d at 990-97. Those claims are
 not discussed in this motion as they are not relevant, although the dismissal of the
 additional claims was also affirmed. Id.
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        City of Rosenberg, Tex., 564 F.3d 379, 382 (5th Cir. 2009)). "The
        excessive force inquiry is confined to whether the [officer or another
        person] was in danger at the moment of the threat that resulted in the
        [officer's use of deadly force]." Bazan v. Hidalgo Cnty., 246 F.3d 481,
        493 (5th Cir. 2001) (citing Fraire v. City of Arlington, 957 F.2d 1268,
        1276 (5th Cir. 1992) ("[R]egardless of what had transpired up until the
        shooting itself, [the suspect's] movements gave the officer reason to
        believe, at that moment, that there was a threat of physical harm.")).

 Rockwell, 664 F.3d at 991 (italic emphasis and brackets in original, except for the

 addition of the full Manis citation).

        5.10    Although the parties disagreed about when the first shot was fired, the

 evidence – viewed in the light most favorable to the parents – showed “that all of the

 shots were fired after Scott charged out of his room with a deadly weapon in each hand in

 the direction of the officers.” Id. “Under the totality of the circumstances, then, it was

 reasonable for the officers to believe that Scott posed a significant and imminent threat of

 serious physical harm to one or more of the offices.” Id. at 991-92. “Consequently, the

 officers’ decision to respond to that threat with deadly force was justified.” Id. at 992.

        5.11    The Fifth Circuit completed its analysis by addressing the parents’

 argument that the Fifth Circuit should “examine the circumstances surrounding the forced

 entry, which may have lead to the fatal shooting, in evaluating the reasonableness of the

 officers’ use of deadly force.”     Id. at 992.    The Fifth Circuit found this argument

 unavailing, saying: “It is well-established that ‘[t]he excessive force inquiry is confined

 to whether the [officer or another person] was in danger at the moment of the threat that

 resulted in the [officer’s use of deadly force].’” Id. at 992-93 (citing Bazan, 246 F.3d at

 493)). Because “each of the officers had a reasonable belief that [the son] posed an

 imminent risk of serious harm to the officers” there was no need to “look at any other

 moment in time.” Id. at 993.

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        5.12    Because the officers’ use of deadly force was objectively reasonable, the

 Fifth Circuit held that the son’s Fourth Amendment right to be free from the use of

 excessive force was not violated. Id. at 993. Accordingly, the Fifth Circuit did “not

 consider the issue of whether that right was clearly established.” Id.

        3.      Discussion of Elizondo v. Green.

        5.13    Elizondo v. Green also involved a family call to police regarding the

 actions of a suicidal family member (17-year-old son) who was in his bedroom in the

 family house threatening harm to himself. 671 F.3d 506, 508 (5th Cir. 2012). The son

 had attempted suicide just over a month earlier by stabbing himself. Id. The daughter

 called 911 after hearing a commotion between the mother and son. Id. The daughter was

 afraid the son would harm their mother, who was trying to take a knife from the son. Id.

        5.14    Officer Green received a dispatch call that mistakenly indicated that a man

 had stabbed himself and needed medical attention. Id. The officer went to the house to

 clear the scene for the paramedics. Id. The mother directed the officer to the son’s room,

 where the officer found the son unhurt but holding a knife to his stomach. Id. The

 officer drew his weapon and backed out of the room while repeatedly ordering the son to

 put the knife down. Id. The son refused. Id. The son cursed the officer and yelled

 “Fucking shoot me.” The officer told the son that he did not want to hurt him, but that

 the officer would be forced to hurt the son if he came any closer. Id. The son moved

 closer and raised the knife. Id. The officer shot the son, who died from his wounds. Id.

        5.15    The parents brought suit against the officer and the City of Garland

 alleging that the officer used excessive force against the son in violation of the Fourth

 Amendment. Id. The officer moved for summary judgment on the grounds of qualified



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 immunity. Id. at 508-09. The district court dismissed the excessive force claim against

 the officer “based on a determination that Green had not committed a constitutional

 violation, and dismissed all claims against the officer.” Id. at 509. Afterwards, the city

 moved for summary judgment, which was granted. Id.

        5.16    The Fifth Circuit affirmed the dismissal for the city.       Id. at 508-11.

 However, the Fifth Circuit did not consider the dismissal of the officer because the grant

 of summary judgment to the officer was not timely appealed. Id. at 509-10.

        5.17    The sole issue before the Fifth Circuit was whether, viewing the evidence

 most favorable to the parents, that the officer used excessive force against the son. Id. at

 510. The Fifth Circuit reiterated the test, saying: “To establish the use of force in

 violation of the Constitution, a plaintiff must prove: ‘(1) injury, (2) which resulted

 directly and only from a use of force that was clearly excessive, and (3) the excessiveness

 of which was clearly unreasonable.” Id. (citing Collier v. Montgomery, 569 F.3d 214,

 218 (5th Cir. 2009)) (emphasis added.). “The use of deadly force is constitutional when

 the suspect poses a threat of serious physical harm to the officer or others.” Id. (citing

 Tennessee v. Garner, 471 U.S. 1, 11 (1985)). “In analyzing the reasonableness of the

 specific use of force, courts must consider the totality of the circumstances surrounding

 the officer’s decision. Id. (citing Ramirez v. Knoulton, 542 F.3d 124, 128 (5th Cir. 2008)).

        5.18    Applying the legal standard, the Fifth Circuit agreed “with the district

 court’s conclusion that Green’s use of deadly force was not clearly unreasonable.” Id. at

 510. The son “ignored repeated instructions to put down the knife he was holding and

 seemed intent on provoking Green.” Id. “At the time Green discharged his weapon, [the

 son] was hostile, armed with a knife, in close proximity to Green, and moving closer.” Id.



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 “Considering the totality of the circumstances in which Green found himself, it was

 reasonable for him to conclude that [the son] posed a threat of serious harm.” Id.

 “Finally, in the absence of a constitutional violation, there can be no municipal liability

 for the City.” Id. at 510-11. Accordingly, the summary judgment was affirmed. Id. at 511.

        4.      Application of law to alleged facts.

        5.19    In this case, the Plaintiffs’ own factual allegations clearly demonstrate that

 Mr. Olivas posed a threat of serious harm to his own family members and to the officers.

 Plaintiffs’ allegations demonstrate that:

        Mr. Olivas was “high on methamphetamines”. 38

        Mr. Olivas was suicidal. 39

        Mr. Olivas had soaked parts of the house in gasoline. 40

        The officers understood that Mr. Olivas threatened to burn the house down. 41

        Mr. Olivas’s family members were in the bedroom with Mr. Olivas who had
        poured gasoline “at certain spots inside the home” and “drenched” himself with
        gasoline. 42

        Plaintiffs specifically admit that Mr. Olivas “was holding” a lighter when “he
        caught fire”. 43 Mr. Olivas also had a red plastic gas “can” that appeared to be a 2
        or 2.5 gallon container. 44

        Plaintiffs admit that two of Mr. Olivas’s family members (wife and son) were in
        the bedroom where the police officers located Mr. Olivas. 45

        Mr. Olivas’s family members were repeatedly told to leave the house, but did not
        do so. 46


 38
    See First Amended Plaintiffs’ Original Complaint, p.10, ¶ 19 (PageID 214).
 39
    See id. at p.7, ¶¶ 12-13 (PageID 211).
 40
    See id. at ¶ 13.
 41
    See id. at p.8, ¶ 15 (PageID 212).
 42
    See id. at pp.7-8, ¶¶ 12-13 (PageID 211).
 43
    See id. at p.9, ¶ 15 (PageID 15); see also pp.12-13 at ¶ 23 (PageID 215).
 44
    See id. at p.19, ¶ 44 (PageID 223).
 45
    See id. at pp.12-13, ¶ 25 (PageID 216-17); see also p.19, ¶ 44 (PageID 44).
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        The family members were frantic. 47

 Thus, Plaintiffs version of the facts show three Arlington police officers in a confined

 bedroom with frantic family members and a suicidal man soaked in gasoline threatening

 to light himself on fire (and with the means to do so), while gasoline was soaked

 throughout the house. 48 These fact clearly demonstrate that the officers (all three) along

 with the family members were in danger at the moment of the threat that resulted in the

 use of the Taser. See Rockwell, 664 F.3d at 991. Moreover, the Plaintiffs’ own version

 of events are clear that the officers would reasonably believe that Mr. Olivas posed a

 serious threat of harm to the officers, the family members, and himself. See id.

        5.20    The facts of the instant case mirror many of the facts in Rockwell and

 Elizondo. The cases involve suicidal family members holed up in a bedroom threatening

 harm to themselves and others. In this case, Officer Scott reported the call text said that

 Mr. Olivas threatened to burn the house down. 49 Plaintiffs acknowledge that Mr. Olivas

 “poured gasoline at certain spots inside the home as well as all over himself’.” 50 Further,

 Mr. Olivas had the means to ignite himself and the house with the lighter that he held.

 Officer Guadarrama was “concerned that the suicidal male would ignite the bedroom on

 fire igniting himself and innocent victims, because I could smell the very strong odor of

 gasoline inside the bedroom.” 51 The family members and officers were in clear danger

 based on the Plaintiffs’ version of events. The police officers acted reasonably.



 46
    See id. at p.9, ¶ 16.; p.12, ¶ 23; pp.12-13, ¶ 25 (PageID 216-17).
 47
    See id. at p.10, ¶ 19 (PageID 214).
 48
    See cites immediately above to First Amended Plaintiffs’ Original Complaint.
 49
    See First Amended Plaintiff’s Original Complaint, p.8, ¶ 15 (PageID 212).
 50
    See id., p.7, ¶ 13 (PageID 211).
 51
    See id. at p.11, at ¶ 22 (PageID 215).
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        5.21    It is worth noting that the Arlington police officers – from the beginning –

 were trying to avoid using their firearms in their encounter with Mr. Olivas. Before

 entering the house, Sgt. Jefferson reminded the officers to use “less lethal” (meaning

 Tasers) if possible. 52 The Arlington police officers entered the house with two officers

 having Tasers drawn and one officer having his firearm drawn; Sgt. Jefferson

 implemented this strategy to have two “less lethal” options. 53 Facing this desperate,

 rapidly evolving situation, the officers priority was to avoid using their firearms. 54

        5.22    Plaintiffs go so far as to argue that the Arlington police officers should

 have simply physically engaged Mr. Olivas while he was soaked in gasoline, high on

 methamphetamine, suicidal, and holding a lighter. 55 For example, Plaintiffs argue:

        The fact that Officer Elliott was only 6 feet away from Mr. Olivas shows
        that Mr. Olivas could have easily been subdued by Officer Elliott, by
        Officer Elliott rushing and grabbing Mr. Olivas. 56

 The Plaintiffs suggestion that this feat would have been “easily” accomplished is

 nonsensical. The Plaintiffs’ proposed plan could have just as easily resulted in both

 Officer Elliot and Mr. Olivas being on fire in a room with frantic family members in a

 now burning house. In any event, the Plaintiffs’ hypothetical suggestions are the type of

 20/20 hindsight analysis made in the cool of the afternoon with large doses of

 speculation; this type of analysis is far removed from the rapidly tense, uncertain, and

 rapidly evolving circumstances facing Sgt. Jefferson and Officers Guadarrama and

 Elliott. Of course, the Courts have clearly rejected the type of post hoc analysis and



 52
    See id. at p.11, ¶ 21, p.15, ¶ 33 (PageID 215, 219).
 53
    See id. at p.15, ¶ 33 (PageID 219).
 54
    See id.
 55
    See First Amended Plaintiffs’ Orig. Complaint, pp.21-22, ¶ 50, ¶ 52 (PageID 225-26).
 56
    See id. at p.21, ¶ 50.
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 speculation suggested by the Plaintiffs. See Graham, 490 U.S. at 396-97; Rockwell, 664

 F.3d at 991. This case, like Rockwell and Elizondo, should be dismissed because the use

 of force was reasonable under the totality of circumstances facing the officers.

        B.      All claims against Arlington fail under Monell.

        5.23    In the present case, the Plaintiffs raise allegations about three policies,

 which allegedly caused a violation of Mr. Olivas’s constitutional rights. 57 First, Plaintiffs

 complaint about Arlington’s escalation in force policy. 58 Second, Plaintiffs complain that

 Arlington police officer’s have discretion on when to use Tasers. 59 Third, Plaintiffs

 argue that Arlington’s continued employment of Officer Guadarrama               “caused Mr.

 Olivas’ death”. 60   In addition, Plaintiffs contend that Arlington’s decision not to

 discipline Sergeant Jefferson and Officer Guadarrama for the incident at issue in this

 lawsuit is “evidence of Arlington’s pre-existing unconstitutional policy, practice, and/or

 custom.” 61

        5.24    Arlington may not be held liable under § 1983 unless the wrongful

 conduct of an employee is pursuant to a policy or custom of Arlington. Monell, 436 U.S.

 at 691. An official municipal policy is "[a] policy statement, ordinance, regulation or

 decision that is officially adopted and promulgated by the municipality's lawmaking

 officers or by an official to whom the lawmakers have delegated policy-making

 authority." Evans v. City of Houston, 246 F.3d 344, 358 (5th Cir. 2001). Proof of

 municipal liability, sufficient to satisfy Monell, requires (1) an official policy or custom,



 57
    See First Amended Plaintiffs’ Orig. Complaint, pp.39-44, ¶¶ 96-104 (PageID 243-48).
 58
    See id. at pp.40-41, ¶¶ 97-100 (PageID 244-46).
 59
    See id. at p.42, ¶ 102 (Page ID 246).
 60
    See id. at pp.42-43, ¶ 103 (PageID 246-43).
 61
    See id. at p. 44, ¶ 104 (PageID 248).
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 of which (2) a policy maker can be charged with actual or constructive knowledge, and

 (3) of a constitutional violation whose “moving force” is that policy or custom. Pineda v.

 City of Houston, 291 F.3d 325, 328 (5th Cir. 2002).           Here, the Plaintiffs’ factual

 allegations demonstrate that Arlington’s policies were not the “moving force” behind any

 alleged constitutional violation.

        1.      Escalation of force policy.

        5.25    Plaintiffs make much ado about Arlington’s use of force policy. 62 But

 Arlington’s use of force policy did not cause Mr. Olivas’s injuries. Plaintiffs quibble

 about the order of the escalation policy. 63 Plaintiffs specific complaint is that the use of

 an “Electronic Control Device” should be placed higher on the continuum than “Empty

 hand control”, which includes fingertip pressure to pressure points and hard strikes to

 motorpoints with hands or feet. 64     But the Fourth Amendment did not require the

 Arlington police officers to physically engage Mr. Olivas while he was soaked in

 gasoline, high on methamphetamine, suicidal, and holding a lighter. 65 Rather, “[t]he use

 of deadly force is constitutional when the suspect poses a threat of serious physical harm

 to the officer or others.” Elizondo, 671 F.3d at 510 (citing Garner, 471 U.S. at 11).

        5.26    Because the officers were not constitutional required to physically engage

 Mr. Olivas on the Plaintiffs’ version of facts, Plaintiffs cannot show a causal link between

 the alleged defect in Arlington’s use of force continuum policy and Mr. Olivas’s injury.

 The officers were not required to physically engage Mr. Olivas regardless of whether the

 use of a “Taser” had been higher on the use of force continuum than the use of “Empty



 62
    See id. at pp.40-42, ¶¶ 97-102 (PageID 244-46).
 63
    See id. at pp.40-41, ¶¶ 97-99 (PageID 244-45).
 64
    See id.
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 hand control”. Plaintiffs have not alleged facts showing a causal connection between

 Arlington’s use of force continuum and Mr. Olivas’s injuries. The complaint about the

 use of force continuum policy fails to state a claim upon which relief can be granted. See

 Monell, 436 U.S. at 691 (municipal policy must have “caused a constitutional tort”).

        5.27    In addition, the Fourth Amendment does not dictate ranking Taser use

 above the use of physical force. Rather the use of force is constitutionally measured by

 reasonableness based on the particular circumstances of a particular case. Rockwell, 664

 F.3d at 991 (citing Graham, 490 U.S. at 397). Thus, Plaintiffs have failed to identify a

 constitutional defect in Arlington’s use of force continuum policy.

        5.28    Last, Plaintiffs complain that Arlington’s “use-of-force continuum

 contains no adjustment for and/or mention of a situation like that involving a situation

 like that involving Mr. Olivas.” As stated in the first three words of the continuum, it is

 applied “under normal circumstances”. 66       Encountering an individual threatening to

 commit suicide by fire after soaking his family’s home and himself in gasoline falls

 outside of “normal” even on the spectrum of conduct faced by police officers. In any

 event, a use of force continuum is a quick, practical overview. The continuum cannot

 account for every bizarre situation that officers may face. Rather, Taser use was covered

 in training. 67 Plaintiffs complaint that Arlington’s use of force continuum does not

 specifically address the bizarre situation created by Mr. Olivas fails to state a claim up on

 which relief can be granted because it fails to allege a constitutional violation.

        2.      Taser use policy.



 65
    See cites to First Amended Plaintiffs’ Orig. Complaint in ¶ 5.19, above.
 66
    See First Amended Plaintiffs’ Original Complaint, p.40, ¶ 97 (PageID 244).
 67
    See id. at pp.31-38 (PageID 235-42).
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        5.29      Plaintiffs also include a one paragraph contention faulting Arlington for

 not absolutely barring the use of Tasers on an individual “doused with gasoline.” 68

 Plaintiffs complain that officers had discretion, based on the facts they encountered, to

 determine whether Taser use was appropriate. The Supreme Court and the Fifth Circuit

 clearly recognize that a “one-size-fits-all” rule is not proper in a Fourth Amendment

 analysis of the use of force; for example, the Fifth Circuit has explained:

        As in other Fourth Amendment contexts, the “reasonableness” inquiry is
        objective: “the question is whether the officers’ actions are ‘objectively
        reasonable’ in light of the facts and circumstances confronting them,
        without regard to their underlying intent or motivation.”

 Rockwell, 664 F.3d at 991 (citing Graham, 490 U.S. at 397). Accordingly, Arlington’s

 decision not to absolutely “prohibit” an officer from using a Taser on a person “doused

 with gasoline” does not violate the Constitution. The officers in this case had a stated

 goal to avoid using their firearms. 69 In sum, Arlington’s policy – as alleged by Plaintiffs

 – was consistent with the Constitution because the reasonableness of the use of a Taser

 must be evaluated in “light of the facts and circumstances” confronting the officers.

        3.        Continuation of employment of Officer Guadarrama.

        5.30      Plaintiffs further fault Arlington for the continued employment of Officer

 Guadarrama. 70     Plaintiffs refer to a series of infractions that resulted in written

 reprimands or counseling reports. 71 None of the allegations involve the use of force. 72

 Because the disciplinary allegations are unrelated to the use of force, there can be no

 causal connection between the infractions and Mr. Olivas’s death. See Monell, 436 U.S.



 68
    See id. at p.41, ¶ 100 (PageID 245).
 69
    See id. at p.11, ¶ 21 (PageID 215), p.15, ¶¶ 33 (PageID 219).
 70
    See id. at pp.42-43, ¶ 103 (PageID 246-47).
 71
    See id.
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 at 691 (municipal policy must have “caused a constitutional tort”). The claim against

 Arlington for failure to terminate Officer Guadarrama prior to his encounter with Mr.

 Olivas should be dismissed for failure to state a claim.

         4.      Failure to discipline.

         5.31    Plaintiffs also insert a one paragraph contention that Arlington’s “failure”

 to discipline Sgt. Jefferson and Officer Guadarrama is “evidence of Arlington’s pre-

 existing unconstitutional policy, practice, and /or custom”. 73 Plaintiffs fail to identify any

 specific policy. 74 However, every specific policy that Plaintiffs identified elsewhere has

 been addressed in this motion and none state a claim. Moreover, Arlington’s “failure” to

 discipline is no evidence of an improper policy because the alleged facts do not show a

 constitutional violation by the officers. Further, Plaintiffs only argue the “failure” is

 evidence, not that it is a separate policy.

         C.      Plaintiffs’ factual allegations fail to show deliberate indifference by, or
                 a causal connection to, Arlington’s training program.

         5.32    It is not clear to Arlington whether Plaintiffs intend to assert a failure to

 train claim against Arlington. 75 If asserted, the claim fails to state a claim upon which

 relief can be granted.      The facts repeatedly alleged by the Plaintiffs affirmatively

 demonstrate that Arlington did train its officers. "[T]he adequacy of police training may

 serve as the basis for § 1983 liability only where the failure to train amounts to deliberate

 indifference to the rights of persons with whom the police come into contact." City of

 Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989). In other words, the “failure to train



 72
    See id.
 73
    See id. at p.44, ¶ 104 (PageID 248).
 74
    See id.
 75
    See First Amended Plaintiffs’ Original Complaint, pp.39-44, 47-50.
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 can amount to a policy if there is deliberate indifference to an obvious need for training

 where citizens are likely to lose their constitutional rights on account of novices in law

 enforcement." Peterson v. City of Fort Worth, Tex., 588 F.3d 838, 849 (5th Cir. 2009).

        5.33    "[D]eliberate indifference generally requires that a plaintiff demonstrate

 ‘at least a pattern of similar violations’ arising from training that is so clearly inadequate

 as to be ‘obviously likely to result in a constitutional violation.’" Burge v. St. Tammany

 Parish, 336 F.3d 363, 370 (5th Cir. 2003) (citing Thompson v. Upshur County, 245 F.3d

 447, 459 (5th Cir. 2001)). "That a particular officer may be unsatisfactorily trained will

 not alone suffice to fasten liability on the city, for the officer’s shortcomings may have

 resulted from factors other than a faulty training program.". City of Canton, 489 U.S. at

 390-91. “[T]he inadequacy of training must be obvious and obviously likely to result in a

 constitutional violation.” Thompson, 245 F.3d at 459 (citing City of Canton, 489 U.S. at

 390, n.10). Moreover, it does not "suffice to prove that an injury or accident could have

 been avoided if an officer had had better or more training, sufficient to equip him to

 avoid the particular injury-causing conduct." Id. at 391. Further, the alleged failure to

 train must have “actually caused” the constitutional violation. See id. The Fifth Circuit

 has also held that "if a law enforcement department meets the state standards for the

 training of its law enforcement officers, the plaintiffs cannot sustain a failure to train

 cause of action under 42 U.S.C. § 1983." See Gonzales v. Westbrook, 118 F. Supp. 2d

 728, 737 (W.D. Tex. 2000) (citing Fifth Circuit cases).

        5.34    Plaintiffs repeatedly make factual allegations showing that Arlington’s

 police officers, including specifically Sgt. Jefferson and Officer Guadarrama, were

 trained in the use of tasers, including fire hazards. Plaintiffs allege:



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        •   “Detective Gildon obtained Arlington training records for Officer Elliot and
            the Defendant Officers. Records indicated that they all completed electronic
            control weapon (Taser) training in 2017, and that they were certified and
            approved to carry and operate Tasers as of July 10, 2017. Sergeant Jefferson
            completed his annual Taser training on February 5, 2017, Officer Guadarrama
            completed his annual training on February 28, 2017, and Officer Elliot
            completed his annual training on June 3, 2017.” 76

        •   “As indicated elsewhere in this pleading, Sergeant Jefferson, Officer
            Guadarrama, and Officer Elliott received Taser update training in year 2017
            before Mr. Olivas was Tased.” 77

        •   “The concept was not new to [Sgt. Jefferson and Officer Guadarrama] but one
            they had learned years before. They were also reminded of this concept just a
            few months before Tasing Mr. Olivas in year 2017.” 78

 Thus, Plaintiffs’ own version of facts repeatedly acknowledges that Arlington provided

 training regarding the use of Tasers near flammable materials.

        5.35    Plaintiffs go further and copy a power point slide from Arlington’s

 training program into their live complaint, alleging: “These officers were reminded of

 what they already knew regarding use of a Taser electronic control weapon in a situation

 in which flammable substances and/or vapors are present.” 79 Plaintiffs allege that “each

 officer reviewed the following page and/or reviewed it as a slide in the 2017 training

 seminar”, with the language of the slide providing:

                                                   FLAMMABILITY
                A TASER ECW can ignite explosive materials, liquids, fumes,
        gases, vapors, or other flammable substances and materials such as
        gasoline, sewer gases, meth labs, flammable personal defense sprays, hair
        gels, butane lighters, etc. Some personal defense sprays use flammable
        carriers such as alcohol and could be dangerous to use in immediate
        conjunction with TASER ECWs. Some propulsion agents in self defense
        sprays are flammable. 80

 76
    See id. at p.29, ¶ 77 (PageID 28-29) (underlining added).
 77
    See id. at p.31, ¶ 83 (PageID 235).
 78
    See id. at p.32, ¶ 84 (PageID 236).
 79
    See id. at p.31, ¶ 84 (PageID 235).
 80
    See id. at p.32, ¶ 84 (PageID 236).
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 (The actually training slide is shown in Plaintiffs’ Original Complaint. 81)

        5.36    After acknowledging annual taser training for every officer involved,

 Plaintiffs launch a grasping argument about “TCOLE credit”, contending:

        Arlington’s training did not result in those officers receiving TCOLE
        credit. They only received in-house Arlington Police Department training
        credit. Upon information and belief, this was because Arlington’s training
        did not meet standards high enough for TCOLE credit. 82

 According to Plaintiffs, no training has value in the absence of TCOLE credit. 83

        5.37    First and foremost, this allegation fails to raise any constitutional concern.

 There is no constitutional requirement that training qualify for “TCOLE credit”.

 Moreover, the argument is disingenuous. Plaintiffs rely on the same training in their

 complaints about the use of tasers. 84 Plaintiffs attempt to walk on both sides of the fence.

        5.38    Plaintiffs also cite specific training records for each officer. 85     As to

 Officer Guadarrama, Plaintiffs cite Arlington records showing that he had training for

 “Less Lethal Electronic Control Device Training” on four additional occasions including:

 (1) eight hours on 12/08/10, (2) four hours on 11/30/12, (3) four hours on 01/31/13, and

 (4) four hours on 01/21/14. 86 As to Sgt. Jefferson, Plaintiffs cite records showing that he

 had training for “Less Lethal Electronic Control Device Training” on five additional

 occasions, including: (1) eight hours on 07/20/10, (2) four hours on 12/08/10, (3) four

 hours on 08/31/12, (4) four hours on 02/28/14, and (5) four hours on 01/21/14. 87



 81
    See id.
 82
    See id. at p.31, ¶ 83 (PageID 235).
 83
    See id. at p.31, ¶ 83, p.39, ¶ 95 (PageID 235, 243).
 84
    See id. at pp.31-38 (PageID 235-42).
 85
    See id.
 86
    See id. at p.34-35 (PageID 238-39).
 87
    See id. at p.36-38 (PageID 240-242).
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        5.39    Plaintiffs own allegations show that Arlington was not “deliberately

 indifferent” to the constitutional rights of the Plaintiffs in its training. Moreover,

 Plaintiffs cannot establish that Arlington’s training “actually caused” any constitutional

 violation; rather, the Plaintiffs repeatedly rely on Arlington’s training to show that Tasers

 “can” ignite flammable substances. 88 Plaintiffs also admit that all three Arlington police

 officers involved in the incident were licensed peace officers; 89 accordingly, their failure

 to train claim fails for that additional reason. See Gonzales, 118 F.Supp.2d at 737. In

 short, Plaintiffs own facts show that (1) Arlington was not deliberately indifferent in its

 training program and (2) Arlington’s training program did not “actually cause” Mr.

 Olivas’s death. The allegations against Arlington related to training (if such allegations

 are made) should be dismissed for failure to state a claim. See FED. R. CIV. P. 12(b)(6).

                                          VI. Relief

        6.01    Based on the foregoing, Defendant City of Arlington, Texas prays that the

 Court dismiss Plaintiffs’ claims against Arlington with prejudice, enter a final judgment,

 and grant any further relief to which Arlington is entitled.

                                               Respectfully submitted,

                                            /s/ Robert Fugate                 .
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 88
  See id.
 89
  See id. at p.33, ¶ 86 (Officer Elliott), p.34-35, ¶ 90 (Officer Guadarrama), & p.35-38, ¶
 91 (Sgt. Jefferson) (PageID 237-42).
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